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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

    UNITED STATES OF AMERICA,          §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:20-CV-370
                                       §
 0.661 ACRES OF LAND, MORE OR          §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND OSCAR BOX,        §
 ET AL.,                               §
                                       §
                    Defendants.        §
______________________________________________________________________________

    JOINT MOTION FOR ORDER ESTABLISHING JUST COMPENSATION, GRANTING
      POSSESSION, AND DISTRIBUTING FUNDS ON DEPOSIT IN THE REGISTRY OF
                        THE COURT FOR TRACT RGV-WSL-2016
    ______________________________________________________________________________

           1.       On November 17, 2020, the United States filed a Declaration of Taking for the

    condemnation of a fee simple interest in real property identified as Tract RGV-WSL-2016. 1

           2.       On November 20, 2020, the United States deposited forty-eight thousand three

    hundred twenty dollars and 00/100 ($48,320.00) into the Registry of the Court as estimated just

    compensation for Tract RGV-WSL-2016. 2 On August 6, 2021, a second deposit was made into

    the Registry of the Court by the United States in the amount of six thousand six hundred eighty

    dollars and 00/100 ($6,680.00), as additional funds for the estimate of just compensation for Tract

    RGV-WSL-2016. 3 Accordingly, the total amount deposited into the registry of the Court, which

    reflects the estimated just compensation amount is fifty-five thousand dollars and 00/100

    ($55,000.00).


1
  Dkt. No. 2.
2
  Dkt. No. 5.
3
  Dkt. No. 47.
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            3.     The Declaration of Taking acquired a combined 0.661 acres in fee simple and the

    Amended Schedule G identified Defendants Gary Box, Roy Box, Dora D. Box, Dora Box

    Rodriguez, Linda Box Ponder, Unknown Heirs/Devisees of John Box, Jr. (a/k/a John Box, III),

    Norma Box, John Box, IV, John Box, and Maria San Juana Martinez Box as interest owners. 4 The

    United States moved to dismiss the Unknown Heirs/Devisees of John Box, Jr (a/k/a John Box, III)

    as an unnecessarily or improperly joined party, which is currently pending before the Court. 5

            4.     The parties have settled the amount of just compensation owed to Defendants in

    this matter.

            5. The total amount in deposit in the Registry of the Court and agreed to as the settlement

    between the parties is fifty-five thousand dollars and 00/100 ($55,000.00). 6

            6.     The United States and Defendants now make this joint motion for an Order: (a)

    establishing fifty-five thousand dollars and 00/100 ($55,000.00) as the total just compensation for

    Tract RGV-WSL-2016 (the “Subject Property”); (b) granting the United States immediate

    possession of Tract RGV-WSL-2016; (c) disbursing the stipulated amount of just compensation,

    as directed below, from the funds on deposit in the Registry of the Court for the Subject Property;

    and (d) closing this case on the Court’s docket. As grounds for this motion, the parties jointly state:

        a. The United States and Defendants confirm and agree that the full and just compensation

            payable by the United States for the taking of Tract RGV-WSL-2016 shall be the sum of

           fifty-five thousand dollars and 00/100 ($55,000.00) plus any accrued interest, which sum



4
  Oscar Box, Security 1st Federal Credit Union, Elizabeth Mendoza, Portfolio Recovery Associates, LLC, and Pablo
“Paul” Villarreal, Jr., Hidalgo County Tax Assessor-Collector were also listed in the original Schedule G as having an
interest in the property. Oscar Box, Elizabeth Mendoza, and Portfolio Recovery Associates, LLC were either substituted
or dismissed as parties. (Dkt. Nos. 36-37, 40-41). Security 1st Federal Credit Union and Pablo “Paul” Villarreal, Jr.,
Hidalgo County Tax Assessor-Collector, executed disclaimers and were subsequently dismissed. (Dkt. Nos. 23, 25, and
26).
5
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  Dkt Nos. 5 and 47.
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            is all inclusive and in full satisfaction of any claims of whatsoever nature by the

            Defendants against the United States for the institution and prosecution of the above-

            captioned action.

        b. The parties respectfully request that judgment be entered against the United States in the

            amount of fifty-five thousand dollars and 00/100 ($55,000.00) for its condemnation of the

            stated interests or estates in the Subject Property, along with any accrued interest.

        c. The United States previously deposited fifty-five thousand dollars and 00/100 ($55,000.00)

            into the Registry of the Court. 7 The United States and Defendants agree that upon deposit

            of said amount, title to the interest and estate as more fully described in the Complaint and

            to the extent set forth in the Declaration of Taking, vested in the name of the United States

            of America by operation of law as to Tract RGV-WSL-2016.

        d. The parties agree that the United States shall be entitled to immediate possession of Tract

            RGV-WSL-2016, and all persons in possession or control of the interests taken in this

            property should be ordered by the Court to surrender possession of the same to the United

            States.

        e. The total sum of fifty-five thousand dollars and 00/100 ($55,000.00) currently on deposit

            with the Registry of the Court, with accrued interest, shall be subject to all real estate taxes,

            liens, encumbrances, and charges of whatsoever nature existing against the interests in the

            property taken in this proceeding at the time of vesting of title in the United States, and

            all such real estate taxes, liens, encumbrances, and charges of whatsoever nature shall be

            payable and deductible from this sum.

        f. Upon the Court’s Order entering judgment in accord with this stipulation of just



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            compensation for the Subject Property, the parties seek immediate disbursement of fifty-

            five thousand dollars and 00/100 ($55,000.00) on deposit in the Registry of the Court,

            together with any accrued interest earned thereon from the initial deposit date of November

            20, 2020, 8 to be disbursed as follows:

                   • $9,418.62 to “Dora D. Box” with accrued interest from the date of deposit;

                   • $9,040.69 to “Gary Box” with accrued interest from the date of deposit;

                   • $9,040.69 to “Roy Box” with accrued interest from the date of deposit;

                   • $13,750.00 to “Dora Box Rodriguez” with accrued interest from the date of

                    deposit;

                   • $6,875.00 to “Linda Ponder Box” with accrued interest from the date of deposit;

                   • $1,589.33 to “Maria San Juana Martinez Box” with accrued interest from the date

                    of deposit;

                   • $1,761.89 to “Norma L. Box” with accrued interest from the date of deposit;

                   • $1,761.89 to “John Box, IV” with accrued interest from the date of deposit; and

                   • $1,761.89 to “John Box” with accrued interest from the date of deposit.

        g. Defendants warrant that they are the owners of the Subject Property; that they have the

            exclusive right to the compensation herein, excepting unpaid taxes and assessments, if any;

            and that no other party is entitled to the same or any part thereof by reason of any

            unrecorded agreement.

        h. In the event that any other party is ultimately determined by a court of competent

            jurisdiction to have any right to receive compensation for the interest in the property taken

            in this proceeding, Defendants shall refund into the Registry of the Court the compensation



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   distributed herein, or such part thereof as the Court may direct, with interest thereon at an

   annual rate provided in 40 U.S.C. § 3116 from the date of receipt of the respective deposit

   by Defendants, to the date of repayment into the Registry of the Court.

i. The parties shall be responsible for their own legal fees, costs, and expenses, including

   attorney fees, consultant fees, and any other expenses or costs.

j. There being no outstanding taxes or assessments due or owing, Defendants are responsible

   for the payment of any additional taxes or assessments which they otherwise owe on the

   interest in the property taken in this proceeding on the date of taking.

k. The parties shall take no appeal from any rulings or judgments made by the Court in this

   action, and the parties consent to the entry of all motions, orders, and judgments necessary

   to effectuate this stipulated judgment.

l. Defendants shall save and hold harmless the United States from all claims or liability

   resulting from any unrecorded leases or agreements affecting the interests in the property

   taken in this proceeding on the date of taking.

m. This joint stipulation and motion is binding on the heirs, trustees, executors, administrators,

   devisees, successors, assigns, agents, and representatives of Defendants.

n. The parties request that the Court enter an order closing this case on the Court’s docket.




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FOR DEFENDANTS:
                                                       Respectfully submitted,

By:   _.sf__________                                   JENNIFER B. LOWERY
      DoraD. Box                                       Acting United States Attorney
                                                       Southern District of Texas

                                                 By:   s/ tl/g,dda Jg{edta,1
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By:




By:   sf
      Linda Box Ponder

      Dese1t Hot Springs, CA -

By:
      NonnaL. Box

      SanJuan,Texas-
By:
      John Box, IV.



By:
      Maria SanJuana Martinez Box



By:
      John Box




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                               CERTIFICATE OF SERVICE

       I, Alyssa Iglesias, Assistant United States Attorney for the Southern District of Texas,

do hereby certify that on August 31-September 1, 2021, a copy of the foregoing was served on all

parties in accordancewith the Federal Rules of Civil Procedure.


                                             By:         s/ Alyssa Iglesias
                                                         ALYSSA IGLESIAS
                                                         Assistant United States Attorney




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